                Case 24-12480-LSS               Doc 1180        Filed 03/26/25         Page 1 of 8




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :      Chapter 11
In re:                                                         :
                                                               :      Case No. 24- 12480 (LSS)
FRANCHISE GROUP, INC., et al., 1                               :
                                                               :      Jointly Administered
                                                               :
                  Debtors.                                     :      Re: Docket Nos. 897, 1057, 1073
---------------------------------------------------------------x

                             FEE EXAMINER’S FINAL REPORT REGARDING
                            FIRST INTERIM FEE APPLICATION REQUEST OF
                                          PROVINCE, LLC

Direct Fee Review LLC (“DFR”), appointed and employed as the Fee Examiner in the above-

captioned bankruptcy proceedings and acting in its capacity regarding the First Interim Fee

Application Request of Province, LLC (the “Firm”) for compensation for services rendered and

reimbursement of expenses as Financial Advisor to the Official Committee of Unsecured

Creditors for the compensation period from November 21, 2024 through January 31, 2025 (“Fee


1
         The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom
VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet,
LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise
Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group
Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490),
Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC
(6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin
Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC
(5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP
Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a),
PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242),
Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722).
The Debtors’ headquarters is located at 2371 Liberty Way, Virginia Beach, Virginia 23456.
             Case 24-12480-LSS         Doc 1180      Filed 03/26/25    Page 2 of 8




Application”) seeking approval of fees in the amount of $2,663,792.00 and the reimbursement of

expenses in the amount of $1,693.10, submits its final report.


                                        BACKGROUND

   1. In performance of audit procedures and in preparation of this report designed to quantify

       and present factual data relevant to the requested fees, disbursements and expenses

       contained herein, DFR reviewed the monthly fee statements and the Applications,

       including each of the billing and expense entries listed in the exhibits to the monthly

       statements, for compliance with 11 U.S.C. § 330, Rule 2016-2 of the Local Rules of the

       United States Bankruptcy Court for the District of Delaware, as amended February 1,

       2025 (“Local Rules”), the United States Trustee Guidelines for Reviewing Applications

       for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330, issued

       June 11, 2013 (“Guidelines”).


   2. DFR did not prepare informal memos related to monthly fee applications of the Firm. We

       included our questions and issues in an initial report. We have included all responses and

       any recommended resolutions in this final report.


                                         DISCUSSION

   3. For the compensation period of November 21, 2024 through January 31, 2025 the Firm

       submitted monthly fee applications in the amount of $2,663,792.00 as actual, reasonable

       and necessary fees and for expense reimbursement of $1,693.10. We calculated that for

       the Fee Application period $9,170.00 related to fee application preparation.




                                                2
         Case 24-12480-LSS         Doc 1180     Filed 03/26/25     Page 3 of 8




4. We deem it generally acceptable to have a maximum of 3% of total time charged in

   preparing fee applications. For Firms with more limited involvement, we consider an

   alternative standard of less than $50,000 in total spent on preparing fee applications. We

   apply these guidelines on a cumulative basis. We evaluate these charges with

   consideration to the length of time of the case and the practice experience of the firm. In

   each application we review every entry for substance and to determine the correct

   allocation without regard for materiality. We noted that cumulatively through this period

   the Firm has charged $9,170.00 related to fee applications on a cumulative basis and we

   have calculated that 0.3% of the fees billed related to fee applications on a cumulative

   basis. We do not have an objection to the amount of fees charged for fee application

   preparation in this fee application based upon our review and procedures and we deem

   the amount to be reasonable.


5. Local Rule 2016-2(d)(iv) requires that time be recorded in increments of 1/10 th of an

   hour. We noted that much of the time billed by the timekeeper listed in Exhibit A appears

   to have been recorded in units of ½ of an hour. We requested that the Firm advise us of

   how this impacts the amounts billed and adjust the fees requested appropriately. The Firm

   responded that the amounts billed by this timekeeper should be reduced by 25%. We

   recommend that fees be reduced by $8,287.50.


6. Our procedures applied to the monthly fee applications for identified the entries listed in

   Exhibit B where charges may have been duplicated. We requested and the Firm agreed to

   withdraw the duplicate entries. We recommend that fees be reduced by $706.00.




                                            3
         Case 24-12480-LSS         Doc 1180     Filed 03/26/25     Page 4 of 8




7. Our procedures applied to the monthly fee applications identified timekeepers with

   limited time charged to this estate. We questioned the necessity and value to the estate

   because of the minimal involvement. We requested and the Firm provided additional

   information related to the nature and necessity of the roles of these timekeepers. In

   addition, the Firm agreed to withdraw the time of the timekeeper listed in Exhibit C. We

   recommend that fees be reduced by $290.00.


8. We requested that the Firm explain why certain activities were not more appropriately

   performed by a timekeeper with a lower billing rate. The Firm explained the context of

   these entries and how they were necessarily performed at this level. Since no adjustment

   is required, no exhibit has been included.


9. Also, we requested that the Firm explain how some descriptions of work performed were

   not duplicative of that of the Committee’s legal counsel. The Firm explained the context

   of these entries and how they were not duplicative of other professionals’ work. Since no

   adjustment is required, no exhibit has been included.


10. We noted the overtime meal charges listed in Exhibit D. Consistent with the US Trustee,

   we deem overtime meal charges in excess of $20.00 per person to be unnecessary and not

   reasonable. We requested and the Firm agreed to reduce these to this cap. We recommend

   that reimbursement of expenses be reduced by $186.51.


11. All motions shall include complete and detailed activity descriptions; each activity

   description shall include the type of activity; each activity description shall include the

   subject matter and shall be sufficiently detailed to allow the Court to determine whether



                                            4
          Case 24-12480-LSS         Doc 1180      Filed 03/26/25     Page 5 of 8




   all the time, or any portion thereof, is actual, reasonable, and necessary. Our procedures

   applied to the monthly fee applications identified entries with descriptions which we

   consider vague or insufficient or non-substantive. We requested and the Firm agreed to

   instruct timekeepers to avoid or stop the use of vague activity descriptions such as “work

   on”, “worked on”, “working on “, “assisted” and “follow up”. Since no adjustment is

   required, no exhibit has been included.


12. All motions shall include complete and detailed activity descriptions; each activity

   description shall include the type of activity; each activity description shall include the

   subject matter and shall be sufficiently detailed to allow the Court to determine whether

   all the time, or any portion thereof, is actual, reasonable, and necessary. Our procedures

   applied to the monthly fee applications identified entries with descriptions which we

   consider vague or insufficient or non-substantive. We requested and the Firm provided

   more description of the subjects for these entries. Since no adjustment is required, no

   exhibit has been included.


13. Pursuant to the Guidelines, administrative or general costs incident to the operation of the

   applicant’s office and not particularly attributable to an individual client or case are not

   reimbursable. We noted entries that seemed to reflect administrative activity that would

   not be charged to the estate such as initial conflicts process. We requested and the Firm

   confirmed that these were for required retention disclosures and did not represent

   unnecessary activity. Since no adjustment is required, no exhibit has been included.


14. Activity descriptions shall individually identify all meetings and hearings (conferences

   and conference by telephone), each participant, the subject(s) of the meeting or hearing

                                             5
         Case 24-12480-LSS         Doc 1180      Filed 03/26/25   Page 6 of 8




   (conferences and conference by telephone) and the participant’s role; including email.

   Our procedures applied to the monthly fee applications identified entries with

   descriptions which did not provide such detail. We requested and the Firm identified the

   participants referred to as ”internal team”, “team”, “internally”, “Province team”, “PWP”,

   “Perella”, “PWP team”, “Province”, “PSZJ”, “Debtor Pros”, “counsel”, “Hilco”, “UCC

   professionals”, “AlixPartners”, “Alix”, “Ducera” and “PSZJ team”. Also, we reviewed

   entries that did not identify participants. We requested and the Firm provided participant

   information for these and agreed to withdraw the charges listed in Exhibit E. We

   recommend that fees be reduced by $1,210.00.


15. Our review and procedures applied to the monthly fee statements and the applications,

   including each of the billing entries listed in the exhibits to the monthly statements did

   not disclose any other material issues or questions.


                                    CONCLUSION

16. Regarding the application and the fees and expenses discussed in the previous sections,

   DFR submits its final report for the First Interim Fee Application Request of Province,

   LLC for compensation for services rendered and reimbursement of expenses as Financial

   Advisor to the Official Committee of Unsecured Creditors for the compensation period

   from November 21, 2024 through January 31, 2025 and we recommend the approval of

   the fees of $2,653,298.50 ($2,663,792.00 minus $10,493.50) and reimbursement of

   expenses in the amount of $1,506.59 ($1,693.10 minus $186.51).




                                            6
             Case 24-12480-LSS   Doc 1180   Filed 03/26/25   Page 7 of 8




Respectfully submitted,

DIRECT FEE REVIEW LLC
FEE EXAMINER


By:    ____________________________
       W. J. Dryer

24A Trolley Square #1225
Wilmington, DE 19806-3334
Telephone: 415.226.9618
dfr.wjd@gmail.com




                                       7
                  Case 24-12480-LSS                         Doc 1180               Filed 03/26/25            Page 8 of 8




Exhibit A:

                                           .0 +.5                  .0         .5   # Entries
Mario Rosales                     650            34.2%       1.3%       32.9%              79



Exhibit B:

          0.4      244    20241217        024:      Courtney Betty      Attended the FRG investigation update call.         610
          0.4      244    20241217        024:      Courtney Betty      Attended the FRG investigation update call.         610

                                                                        Analyzed certain first day motion vendor payment
          1.1      462    20241202        004:      Nick Steffen        amounts.                                            420
                                                                        Analyzed certain first day motion vendor payment
          1.1      462    20241202        004:      Nick Steffen        amounts.                                            420



Exhibit C:

Professional             Rate             Hrs
Peter Kravitz                   1450                0.2



Exhibit D:

       44.91             20241217       S. Kietlinski working meal - FRG FA
       25.90             20241123       S. Kietlinski dinner /working meals - FRG
       42.48             20241212       S. Kietlinski working meal FRG FA
       31.59             20241130       S. Kietlinski dinner/working meal - FRG
       72.13             20241210       S. Kietlinski working meal - FRG FA
       42.50             20250125       S. Kietlinski working meal - FRG
       23.35             20250111       S. Kietlinski working meal - FRG
       31.41             20250118       S. Kietlinski working meal - FRG
       22.24             20250106       Hunter Thompson Working meal for MCV.
       50.00             20250102       S. Kietlinski working meal - FRG



Exhibit E:

0.50        235   20250106      024:     Nick Steffen          Attended the FRG settlement structure call.            470

0.50        325   20250113      004:     Mario Rosales         Attended the FRG Investigation Updates Meeting.        650

0.50        325   20250121      024:     Mario Rosales         Attended the FRG investigation updates call.           650

0.50        325   20250123      024:     Mario Rosales         Attended the FRG investigation updates call.           650




                                                                          8
